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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHESTNUT STREET CONSOLIDATED, :          CIVIL ACTION
LLC,                          :
                              :          NO. 21-3046
          Plaintiff,          :
     v.                       :
                              :
BAHAA DAWARA, et al,          :
                              :
          Defendants.         :


                                 ORDER

          AND NOW, this 12th day of November, 2021,

upon consideration of Defendant Bahaa and Imad Dawara’s Motion

to Dismiss [ECF No. 20], the responses, reply, and supplemental

briefings thereto, and following two hearings on the record, it

is hereby ORDERED, for the reasons set forth in the accompanying

memorandum, that the Motion to Dismiss is DENIED. It is further

ORDERED that Defendants Hitham Albarouki, Fatan Dawara, Maisaa

Dawara, Mirvat Dawara, and Abeer Naim’s Motion to Join the

Motion to Dismiss [ECF No. 52] is DENIED as moot.



          AND IT IS SO ORDERED.



                           /s/ Eduardo C. Robreno
                           EDUARDO C. ROBRENO, J.
